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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF ARKANSAS
                               WESTERN DIVISION

UNITED STATES OF AMERICA                                                            PLAINTIFF

v.                             CASE NO. 4:13CR00328 BSM

ROBERT KARR                                                                      DEFENDANT

                            FINAL ORDER OF FORFEITURE

       The government’s motion for forfeiture of property [Doc. No. 90] is granted. On June

19, 2014, a preliminary order of forfeiture was entered, ordering defendant Robert Karr to

forfeit his interest in:

       A.      One Bushmaster, model XM-15E2S, AR 15 type rifle, .223 caliber, serial

number L252329;

       B.      One Stoeger, model 2000, 12 gauge shotgun, serial number 023693;

       C.      One Taurus, model PT 101 AFS, .40 caliber pistol, serial number SOE-88584;

       D.      Assorted ammunition seized from Robert Karr on February 27, 2013.

The order provided it would become final at the time of sentencing and would become a final

order of forfeiture if no third party filed a timely claim to the forfeited property. Karr was

sentenced, and no one has filed a claim to the forfeited property. The preliminary order of

forfeiture, therefore, ripens into a final order of forfeiture. The United States now has all

right, title, and interest in the forfeited property. Any prior claims in and against the forfeited

property are extinguished and declared void. The property shall be turned over to the United

States Marshals Service and disposed of according to law.
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IT IS SO ORDERED this 19th day of October 2015.



                                      ________________________________
                                      UNITED STATES DISTRICT JUDGE




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